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  DATE: 10/20/22                CASE NUMBER: 1:20cv484                    START: 10:17

  JUDGE: ALSTON                 REPORTER: T. Harris                       END: 10:40

  PARTIES:

  Amazon.com, et al.

  v.
  WDC Holdings LLC, et al.


  APPEARANCES: Counsel for          Plaintiffs ()   Defendants ()

  Counsel indicated that they are in agreement on the following deadlines:

  o      Expert disclosures are due November 11, 2022
  o      Rebuttal expert reports December 2, 2022
  o      Expert depositions complete December 16, 2022
  o      Summary judgment motions are due January 11, 2023
  o      Summary judgment responses are due January 25, 2023
  o      Summary judgment replies are due February 1, 2023
  o      A summary judgment hearing is set for February 8, 2023.
  o      Pretrial hearing disclosures will be due 60 days before trial.


  () Case set for trial by JURY on 5/1/2023 at 9:00 (through 5/22/2023)

  Counsel directed to contact Judge Davis’ chambers no later than 3/1/2023 to set up a settlement
  conference to be held no later than 3/15/2023.

  Counsel encouraged to consider mediation.

  Counsel for Carleton Nelson, Alex Little, requests that local counsel not be required to be
  present. The Court indicated that if counsel submits a motion for pro hac vice, that would suffice,
  and relieve local counsel’s responsibility to be present in court.
